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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                                      CASE NO: 8:04-cr-321-T-30EAJ

CHARLES DANIEL MAYE
____________________________________/


                                             ORDER

          THIS CAUSE comes before the Court upon Defendant's Motion to Vacate Judgment

of Conviction (Dkt. #220) and the Government’s response (Dkt. #222) filed in opposition

thereto. Upon review and consideration, the Court determines this Motion should be denied.

28 U.S.C. § 2255(h); Fed. R. Crim. P. 34(a)(2). It is therefore

          ORDERED AND ADJUDGED that Defendant's Motion to Vacate Judgment of

Conviction (Dkt. #220) is DENIED.

          DONE and ORDERED in Tampa, Florida on February 17, 2011.




Copies Furnished To:
Counsel/Parties of Record
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